                   Case 2:12-cr-00049-WBS Document 145 Filed 03/22/17 Page 1 of 2


 1   Law Office of Paul M. Dennison
     Paul M. Dennison (SBN 191615)
 2   360 Ritch Street, #201
     San Francisco, CA 94107
 3   Ph: (415) 722-8582
     Fax: (415) 276-4753
 4   E-mail: Ceanannas@aol.com

 5
     Attorney for Defendant
 6   MICHELLE TRUONG

 7                                     UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,                                        Case No. 2:12-CR-00049 GEB
 9
                                               Plaintiff              AMENDED
10
                                     v.                               STIPULATED REQUEST
11                                                                    FOR CONTINUANCE;
     MICHELLE TRUONG                                                  PROPOSED ORDER
12
                                                Defendant.            Date: MARCH 20, 2017
13

14
     TO: Shani Furstenau, Courtroom Clerk to the Hon. Garland E. Burrell, Jr.
15
             The parties, along with the assigned Probation Officer, are in agreement and request that the
16
     Judgment and Sentencing of Michelle Truong in the above entitled matter currently set for March 31,
17

18   2017 at 9:00 a.m. be continued to June 16, 2017 at 9:00 a.m.

19           The parties further agree to the following disclosure schedule;

20   Judgment and Sentencing Date: June 16, 2017;
21   Reply or Statement of Non-Opposition: June 2, 2017;
22
     Motion for Correction of the Presentence Report shall be filed with the court and served on the
23
     Probation Officer and opposing counsel no later than May 26, 2017;
24
     The Presentence Report shall be filed with the Court and disclosed on counsel no later than May 19,
25

26   2017;

27   Counsel’s written objections to the Presentence Report shall be delivered to the Probation Officer and

28

                                                             1
                 Case 2:12-cr-00049-WBS Document 145 Filed 03/22/17 Page 2 of 2

     opposing counsel no later than May 12, 2017;
 1
 2   The Proposed Presentence Report shall be disclosed to counsel no later than April 28, 2017.

 3
     IT IS SO STIPULATED.
 4
     DATED:     MARCH 20, 2017          /s/Todd Pickles TODD PICKLES
 5
     Assistant United States Attorney
 6
     DATED:     MARCH 20, 2017          /s/Julie Besabe JULIE BESABE US Probation Officer
 7
     DATED: MARCH 17, 2017 by:          /s/Paul Dennison PAUL DENNISON Attorney for defendant
 8   Michelle Truong
 9

10

11

12                                           PROPOSED ORDER
13

14             IT IS SO FOUND AND ORDERED.
15   Dated: March 21, 2017

16

17

18

19
20

21

22

23

24

25

26
27

28

                                                       2
